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U.S. DISTRICT CGURF

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GOLDENBERG, MACKLER, SAVYEGH, MINTZ,

PFEFFER, BONCHI & GILL

A Professional Corporation

660 New Road, Suite No, 1-A

Northfield, New Jersey 08225

(609) 646-0222 FAX (609) 646-0887

Attomeys for Plaintiff, Cherokee Solutions, Inc. as Assignee of

Judgment from Cityscape Corp. a/k/a Cityseape Mortgage Corp.(52804-1 1)

RY: ‘sf Keith A. Bonchi
KEITH A. BONCIL, ESQ. (KAB3664)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CHEROKEE SOLUTIONS, INC,

as Assignee of Judgment from : Hon. Katharine §. Hayden, U.8.D.J.
Cityscape Corp, a/k/a Cityscape :
Mortgage Corp. ‘Civil Action No. 2:01-mc-00021-KSH
Plaintiff, :
v.
WALSH SECURITIES CORP. > NOTICE OF MOTION
: FOR CONFIRMATION
Defendant, : OF MARSHALS SALE

TO: Ayesha Freeman, Asst. Corporation Counsel
City of Newark, Department of Law
920 Broad Street
Newark, NJ 07102

U.S. Marshals Service

District of New Jersey

Martin Luther King Jr. Fed. Bldg, & Courthouse
50 Walnut Street, 2"! Floor, Suite 2009

Newark, NJ 07102

Atin: Elizabeth Baskerville, Civil Section
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Robert A. Magnanini, Esquire

Boies Schiller & Flexner, LLP

150 JFK Pkwy.

Short Hills, NJ 07078

Atty. for Walsh Securities, Inc.

PLEASE TAKE NOTICE that Cherokee Solutions, Inc. will move before this Court at
the United States Courthouse, 50 Walnut Street, Newark, New Jersey, on May 8, 2006 at 9:00 in

the forenoon or as soon thereafier as counsel may be heard, for an Order confirming the

Marshal's Sale conducted on March 28, 2006 and captioncd as Cityscape Corp. v. Walsh

Sccurities, Inc,

Plaintiff shall rely upon the enclosed Certification of Counsel. Disposition on the papers
is requested.

GOLDENBERG, MACKLER, SAYEGH, MINTZ,
PFEFFER, BONCHI & GIL

BY: =

KEITH A, BONCHT, ESQUIRE

Dated: April 6 , 2006
